                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 1 of 31 Page ID #:1



                        1    RUSS AUGUST & KABAT
                             Reza Mirzaie, State Bar No. 246953
                        2    Email: rmirzaie@raklaw.com
                             Philip X. Wang, State Bar No. 262239
                        3    Email: pwang@raklaw.com
                        4    Kent N. Shum, State Bar No. 259189
                             Email: kshum@raklaw.com
                        5    Christian Conkle, State Bar No. 306374
                             Email: cconkle@raklaw.com
                        6    James N. Pickens, State Bar No. 307474
                        7    Email: jpickens@raklaw.com
                             12424 Wilshire Boulevard, 12th Floor
                        8    Los Angeles, California 90025
                             Tele: 310/826-7474
                        9    Fax: 310/826-6991
                       10    Attorneys for Plaintiff
                       11    XR Communications, LLC, dba Vivato Technologies
RUSS, AUGUST & KABAT




                       12                       UNITED STATES DISTRICT COURT
                       13                      CENTRAL DISTRICT OF CALIFORNIA
                       14                                  SOUTHERN DIVISION
                       15
                       16    XR Communications, LLC,                  Case No. 8:17-cv-596
                       17    dba Vivato Technologies,
                                                                      COMPLAINT FOR PATENT
                       18                     Plaintiff,              INFRINGEMENT
                       19
                                         v.                           JURY TRIAL DEMANDED
                       20
                             D-Link Systems, Inc.,
                       21
                       22                      Defendant.
                       23
                       24
                       25
                       26
                       27
                       28


                                                                COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 2 of 31 Page ID #:2



                        1           Plaintiff XR Communications, LLC, dba Vivato Technologies (“Vivato”)
                        2    alleges as follows:
                        3    I.     JURISDICTION AND VENUE
                        4           This is an action for patent infringement. This Court has subject matter
                        5    jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a) because this action arises
                        6    under the patent laws of the United States, 35 U.S.C. §§ 101 et seq.
                        7    II.    THE PARTIES
                        8           Plaintiff XR Communications LLC d/b/a Vivato Technologies (“Vivato” or
                        9    “Plaintiff”) is a limited liability company organized and existing under the laws of
                       10    Delaware with its principal place of business at 444 S. Cedros Ave., Solana Beach,
                       11    CA 92075.
RUSS, AUGUST & KABAT




                       12           D-Link Systems, Inc., (“D-Link” or “Defendant”) is a corporation organized
                       13    and existing under the laws of California with its principal place of business at
                       14    17595 Mt. Herrmann Street, Fountain Valley, CA 92708.
                       15           This Court has personal jurisdiction over D-Link because D-Link is
                       16    incorporated in California and has its principal place of business in California.
                       17           Venue is proper in this federal district pursuant to 28 U.S.C. §§ 1391(b)-(d)
                       18    and 1400(b) in that D-Link resides in this District, has its principal place of
                       19    business in this District, has done business in this District, has regular and
                       20    established places of business in this District, has committed acts of infringement
                       21    in this District, and continues to commit acts of infringement in this District,
                       22    entitling Plaintiffs to relief.
                       23    III.   BACKGROUND OF THE TECHNOLOGY
                       24           Vivato was founded in 2000 as a $80+million venture-backed company with
                       25    several key innovators in the wireless communication field including Siavash
                       26    Alamouti, Ken Biba, William Crilly, James Brennan, Edward Casas, and Vahid
                       27    Tarokh among many others. Wi-Fi/802.11 has become the ubiquitous wireless
                       28    connection to the Internet and is now integrated into hundreds of millions of
                                                                       2
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 3 of 31 Page ID #:3



                        1    mobile devices globally. Vivato was founded to leverage its talent to generate
                        2    intellectual property and deliver Wi-Fi/802.11 wireless connectivity solutions to
                        3    service the growing demand for bandwidth.
                        4          Over the years, Vivato has developed proven technology, with over 400
                        5    deployments globally, including private, public and government, and has become a
                        6    recognized provider of extended range Wi-Fi network infrastructure solutions.
                        7    Vivato's wireless base stations integrate beamforming phased array antenna design
                        8    with packet steering technology to deliver high-bandwidth extended range
                        9    connections to serve multiple users and multiple devices.
                       10          Vivato’s patent portfolio includes over 17 issued patents and pending patent
                       11    applications. The patents-in-suit are directed to specific aspects of wireless
RUSS, AUGUST & KABAT




                       12    communication including adaptively steered antenna technology and beam
                       13    switching technology.
                       14    IV.   COUNT ONE: INFRINGEMENT OF U.S. PATENT NO. 7,062,296
                       15          On June 13, 2006, United States Patent No. 7,062,296 (“the ’296 Patent”)
                       16    was duly and legally issued for inventions entitled “Forced Beam Switching in
                       17    Wireless Communication Systems Having Smart Antennas.” Vivato owns the ’296
                       18    Patent and holds the right to sue and recover damages for infringement thereof.
                       19          Defendant has directly infringed and continues to directly infringe numerous
                       20    claims of the ’296 Patent, including at least claim 33, by manufacturing, using,
                       21    selling, offering to sell, and/or importing into the United States WiFi access points
                       22    and routers supporting MU-MIMO, including without limitation access points and
                       23    routers utilizing the IEEE 802.11ac-2013 standard (e.g. Defendant’s DIR-895L/R
                       24    AC5300 Ultra Wi-Fi Router, DIR-885L/R AC3150 Ultra Wi-Fi Router, and DAP-
                       25    1860 AC2600 Wi-Fi Extender) (collectively the “Accused Products”). Defendant
                       26    is liable for infringement of the ’296 Patent pursuant to 35 U.S.C. § 271(a).
                       27
                       28
                                                                       3
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 4 of 31 Page ID #:4



                        1          Each of the Accused Products comprises an apparatus for use in a wireless
                        2    communication system. For example, the DIR-895L AC5300 Ultra Wi-Fi Router is
                        3    an apparatus for use in a wireless communication system.
                        4          Each of the Accused Products comprises at least one smart antenna. For
                        5    example, the DIR-895L AC5300 Ultra Wi-Fi Router has at least one smart
                        6    antenna.
                        7          Each of the Accused Products comprises at least one transceiver operatively
                        8    coupled to said smart antenna and configured to send and receive electromagnetic
                        9    signals using said smart antenna. For example, the DIR-895L AC5300 Ultra Wi-Fi
                       10    Router has a Broadcom BCM4366 coupled to the smart antenna to send and
                       11    receive signals. See, e.g., IEEE 802.11ac-2013 (“802.11ac Standard”) Clauses
RUSS, AUGUST & KABAT




                       12    22.3.4.5(j), 22.3.4.6(g), 22.3.4.7(h), 22.3.4.8(p), 22.3.4.9.1(q), 22.3.4.9.2(q),
                       13    22.3.4.10.4(e) (“Analog and RF: Up-convert the resulting complex baseband
                       14    waveform associated with each transmit chain to an RF signal according to the
                       15    center frequency of the desired channel and transmit.”); id. Clauses 22.3.7.4,
                       16    22.3.8; id. Clause 22.3.3 and Figure 22-7:
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
                       26
                       27
                       28
                                                                      4
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 5 of 31 Page ID #:5



                        1          Each of the Accused Products comprises logic operatively coupled to said
                        2    transceiver and configured to selectively allow a second device to operatively
                        3    associate with a beam downlink transmittable to said second device using said
                        4    smart antenna. For example, the DIR-895L AC5300 Ultra Wi-Fi Router allows a
                        5    client device to operatively associate with a beam downlink transmittable to that
                        6    client device using the smart antenna. See, e.g., 802.11ac Standard Clause 8.5.23.3
                        7    (“The Group ID Management frame is an Action frame of category VHT. It is
                        8    transmitted by the AP to assign or change the user position of a STA for one or
                        9    more group IDs. The Action field of a Group ID Management frame contains the
                       10    information shown in Table 8-281aj”); id. Clause 8.4.1.51 (“The Membership
                       11    Status Array field is used in the Group ID Management frame (see 8.5.23.3). The
RUSS, AUGUST & KABAT




                       12    length of the field is 8 octets. An 8 octet Membership Status Array field (indexed
                       13    by the group ID) consists of a 1-bit Membership Status subfield for each of the 64
                       14    group IDs, as shown in Figure 8-80f. * * * Within the 8 octet Membership Status
                       15    Array field, the 1-bit Membership Status subfield for each group ID is set as
                       16    follows: — Set to 0 if the STA is not a member of the group — Set to 1 if STA is a
                       17    member of the group The Membership Status subfields for group ID 0
                       18    (transmissions to AP) and group ID 63 (downlink SU transmissions) are
                       19    reserved.”); id. Clause 8.4.1.52 (“The User Position Array field is used in the
                       20    Group ID Management frame (see 8.5.23.3). The length of the field is 16 octets. A
                       21    16 octet User Position Array field (indexed by the Group ID) consists of a 2-bit
                       22    User Position subfield for each of the 64 group IDs, as shown in Figure 8-80g. * *
                       23    * If the Membership Status subfield for a particular group ID is 1, then the
                       24    corresponding User Position subfield is encoded as shown in Table 8-53l.”); id.
                       25    Table 8-53l:
                       26
                       27
                       28
                                                                      5
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 6 of 31 Page ID #:6



                        1
                        2
                        3
                        4
                        5
                        6
                        7    Id. Clause 22.3.8.3.3 (“The VHT-SIG-A field carries information required to
                        8    interpret VHT PPDUs. The structure of the VHT-SIG-A field for the first part
                        9    (VHT-SIG-A1) is shown in Figure 22-18 and for the second part (VHT-SIG-A2) is
                       10    shown in Figure 22-19.”); id. Figure 22-18:
                       11
RUSS, AUGUST & KABAT




                       12
                       13
                       14
                       15
                       16    Id. Clause 22.3.11.4:

                       17
                       18
                       19
                       20
                       21
                       22
                       23
                             Id. Clause 9.31.5.1 (“Transmit beamforming and DL-MU-MIMO require
                       24
                             knowledge of the channel state to compute a steering matrix that is applied to the
                       25
                             transmitted signal to optimize reception at one or more receivers. The STA
                       26
                             transmitting using the steering matrix is called the VHT beamformer and a STA for
                       27
                             which reception is optimized is called a VHT beamformee. An explicit feedback
                       28
                             mechanism is used where the VHT beamformee directly measures the channel
                                                               6
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 7 of 31 Page ID #:7



                        1    from the training symbols transmitted by the VHT beamformer and sends back a
                        2    transformed estimate of the channel state to the VHT beamformer. The VHT
                        3    beamformer then uses this estimate, perhaps combining estimates from multiple
                        4    VHT beamformees, to derive the steering matrix.”); id. Clause 9.31.5.2 (“A VHT
                        5    beamformer shall initiate a sounding feedback sequence by transmitting a VHT
                        6    NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT
                        7    beamformer shall include in the VHT NDP Announcement frame one STA Info
                        8    field for each VHT beamformee that is expected to prepare VHT Compressed
                        9    Beamforming feedback and shall identify the VHT beamformee by including the
                       10    VHT beamformee’s AID in the AID subfield of the STA Info field. The VHT NDP
                       11    Announcement frame shall include at least one STA Info field.”); id. (“A non-AP
RUSS, AUGUST & KABAT




                       12    VHT beamformee that receives a VHT NDP Announcement frame… shall
                       13    transmit its VHT Compressed Beamforming feedback a SIFS after receiving a
                       14    Beamforming Report Poll with RA matching its MAC address and a non-
                       15    bandwidth signaling TA obtained from the TA field matching the MAC address of
                       16    the VHT beamformer.”); id. Clauses 8.5.23.2, 8.4.1.48, 8.4.1.49; id. Clauses
                       17    22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a)
                       18    (“Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.”); id. Clauses
                       19    22.3.10.11.1, 22.3.11.2; IEEE 802.11-2012 Clause 20.3.12.3.6.
                       20          Each of the Accused Products comprises logic configured to determine
                       21    information from at least one uplink transmission receivable from said second
                       22    device through said smart antenna. For example, the DIR-895L AC5300 Ultra Wi-
                       23    Fi Router determines information from a VHT Compressed Beamforming frame
                       24    received from a client device through its smart antenna. See, e.g., 802.11ac
                       25    Standard Clauses 8.4.1.24, 8.4.1.49, 8.5.23.2, 9.31.5.1, 9.31.5.2; IEEE 802.11-
                       26    2012 Clause 20.3.12.3.6.
                       27          Each of the Accused Products comprises logic configured to determine if
                       28    said associated second device should operatively associate with a different beam
                                                                      7
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 8 of 31 Page ID #:8



                        1    downlink transmittable using said smart antenna based on said determined
                        2    information. For example, the DIR-895L AC5300 Ultra Wi-Fi Router determines,
                        3    based on the information received in a VHT Compressed Beamforming frame, if
                        4    the client device should operatively associate with a different beam downlink
                        5    transmittable using the smart antenna. See, e.g., 802.11ac Standard Clauses
                        6    8.4.1.24, 8.4.1.49, 8.5.23.2, 9.31.5.1, 9.31.5.2; id. Clause 22.3.11.2:
                        7
                        8
                        9
                       10
                       11
RUSS, AUGUST & KABAT




                       12
                       13
                       14
                       15
                       16          Each of the Accused Products comprises logic configured to allow said
                       17    second device to operatively associate with said different beam if said associated
                       18    second device should operatively associate with a different beam and selectively
                       19    identify that said second device is not allowed to operatively associate with said
                       20    beam. For example, the DIR-895L AC5300 Ultra Wi-Fi Router allows a client
                       21    device to operatively associate with a beam that is different from the beam with
                       22    which the client was associated previously, and to identify that the client device is
                       23    not allowed to operatively associate with the prior beam. See, e.g., 802.11ac
                       24    Standard Clause 10.40 (“An AP determines the possible combinations of STAs
                       25    that can be addressed by a VHT MU PPDU by assigning STAs to groups and to
                       26    specific user positions within those groups. Assignments or changes of user
                       27    positions corresponding to one or more Group IDs shall be performed using a
                       28    Group ID Management frame defined in 8.5.23.3…A VHT MU PPDU shall be
                                                                        8
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 9 of 31 Page ID #:9



                        1    transmitted to a STA based on the content of the Group ID Management frame
                        2    most recently transmitted to the STA and for which an acknowledgement was
                        3    received.”); id. Clause 8.5.23.3 (“The Group ID Management frame is an Action
                        4    frame of category VHT. It is transmitted by the AP to assign or change the user
                        5    position of a STA for one or more group IDs. The Action field of a Group ID
                        6    Management frame contains the information shown in Table 8-281aj”); id. Clause
                        7    8.4.1.51 (“The Membership Status Array field is used in the Group ID
                        8    Management frame (see 8.5.23.3). The length of the field is 8 octets. An 8 octet
                        9    Membership Status Array field (indexed by the group ID) consists of a 1-bit
                       10    Membership Status subfield for each of the 64 group IDs, as shown in Figure 8-
                       11    80f. * * * Within the 8 octet Membership Status Array field, the 1-bit Membership
RUSS, AUGUST & KABAT




                       12    Status subfield for each group ID is set as follows: — Set to 0 if the STA is not a
                       13    member of the group — Set to 1 if STA is a member of the group The Membership
                       14    Status subfields for group ID 0 (transmissions to AP) and group ID 63 (downlink
                       15    SU transmissions) are reserved.”); id. Clause 8.4.1.52 (“The User Position Array
                       16    field is used in the Group ID Management frame (see 8.5.23.3). The length of the
                       17    field is 16 octets. A 16 octet User Position Array field (indexed by the Group ID)
                       18    consists of a 2-bit User Position subfield for each of the 64 group IDs, as shown in
                       19    Figure 8-80g. * * * If the Membership Status subfield for a particular group ID is
                       20    1, then the corresponding User Position subfield is encoded as shown in Table 8-
                       21    53l.”); id. Table 8-53l:
                       22
                       23
                       24
                       25
                       26
                       27
                       28
                                                                      9
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 10 of 31 Page ID #:10



                          1   Id. Clause 22.3.8.3.3 (“The VHT-SIG-A field carries information required to
                          2   interpret VHT PPDUs. The structure of the VHT-SIG-A field for the first part
                          3   (VHT-SIG-A1) is shown in Figure 22-18 and for the second part (VHT-SIG-A2) is
                          4   shown in Figure 22-19.”); id. Figure 22-18:
                          5
                          6
                          7
                          8
                          9
                        10    Id. Clause 22.3.11.4:

                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                        16
                        17
                        18    Id. Clause 9.31.5.1 (“Transmit beamforming and DL-MU-MIMO require
                        19    knowledge of the channel state to compute a steering matrix that is applied to the
                        20    transmitted signal to optimize reception at one or more receivers. The STA
                        21    transmitting using the steering matrix is called the VHT beamformer and a STA for
                        22    which reception is optimized is called a VHT beamformee. An explicit feedback
                        23    mechanism is used where the VHT beamformee directly measures the channel
                        24    from the training symbols transmitted by the VHT beamformer and sends back a
                        25    transformed estimate of the channel state to the VHT beamformer. The VHT
                        26    beamformer then uses this estimate, perhaps combining estimates from multiple
                        27    VHT beamformees, to derive the steering matrix.”); id. Clause 9.31.5.2 (“A VHT
                        28    beamformer shall initiate a sounding feedback sequence by transmitting a VHT
                                                                      10
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 11 of 31 Page ID #:11



                          1   NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT
                          2   beamformer shall include in the VHT NDP Announcement frame one STA Info
                          3   field for each VHT beamformee that is expected to prepare VHT Compressed
                          4   Beamforming feedback and shall identify the VHT beamformee by including the
                          5   VHT beamformee’s AID in the AID subfield of the STA Info field. The VHT NDP
                          6   Announcement frame shall include at least one STA Info field.”); id. (“A non-AP
                          7   VHT beamformee that receives a VHT NDP Announcement frame… shall
                          8   transmit its VHT Compressed Beamforming feedback a SIFS after receiving a
                          9   Beamforming Report Poll with RA matching its MAC address and a non-
                        10    bandwidth signaling TA obtained from the TA field matching the MAC address of
                        11    the VHT beamformer.”); id. Clauses 8.5.23.2, 8.4.1.48, 8.4.1.49; id. Clauses
RUSS, AUGUST & KABAT




                        12    22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a)
                        13    (“Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.”); id. Clauses
                        14    22.3.10.11.1, 22.3.11.2; IEEE 802.11-2012 Clause 20.3.12.3.6.
                        15          Defendant has been and is now indirectly infringing at least one claim of the
                        16    ’296 Patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in
                        17    the United States. More specifically, Defendant have been and are now actively
                        18    inducing direct infringement by other persons (e.g., Defendant’s customers who
                        19    use, sell or offer for sale the Accused Products).
                        20          By at least the filing of this complaint, Defendant had knowledge of the ’296
                        21    Patent, and that its actions resulted in a direct infringement of the ’296 Patent, and
                        22    knew or were willfully blind that their actions would induce direct infringement by
                        23    others and intended that their actions would induce direct infringement by others.
                        24          Defendant actively induces such infringement by, among other things,
                        25    providing user manuals and other instruction material for their devices that induce
                        26    their customers to use Defendant’s devices in their normal and customary way to
                        27    infringe the ’296 Patent. For example, Defendant’s website provides instructions
                        28    for using the Accused Products on wireless communication systems, and to utilize
                                                                        11
                                                                     COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 12 of 31 Page ID #:12



                          1   their beamforming and MU-MIMO functionalities. Through its manufacture and
                          2   sales of their devices, Defendant specifically intended for its customers to infringe
                          3   claims of the ’296 Patent. Further, Defendant was aware that these normal and
                          4   customary activities would infringe the ’296 Patent. Defendant performed the acts
                          5   that constitute induced infringement, and that would induce actual infringement,
                          6   with knowledge of the ’296 Patent and with the knowledge or willful blindness that
                          7   the induced acts would constitute direct infringement.
                          8         Accordingly, a reasonable inference is that Defendant specifically intended
                          9   for others, such as their customers, to directly infringe one or more claims of the
                        10    ’296 Patent in the United States because Defendant had knowledge of the ’296
                        11    Patent and actively induced others (e.g., its customers) to directly infringe the ’296
RUSS, AUGUST & KABAT




                        12    Patent by using, selling, or offering to sell the Accused Products and the MU-
                        13    MIMO functionality within the Accused Products.
                        14          Defendant also infringes other claims of the ’296 Patent, directly and
                        15    through inducing infringement, for similar reasons as explained above with respect
                        16    to Claim 33.
                        17          The ’296 Patent is valid and enforceable.
                        18          Defendant’s infringement of the ’296 Patent has damaged Vivato, and
                        19    Defendant is liable to Vivato in an amount to be determined at trial that
                        20    compensates Vivato for the infringement, which by law can be no less than a
                        21    reasonable royalty.
                        22          As a result of Defendant’s infringement of the ’296 Patent, Vivato has
                        23    suffered irreparable harm and will continue to suffer loss and injury.
                        24    V.    COUNT TWO: INFRINGEMENT OF U.S. PATENT NO. 7,729,728
                        25          On June 1, 2010, United States Patent No. 7,729,728 (“the ’728 Patent”) was
                        26    duly and legally issued for inventions entitled “Forced Beam Switching in Wireless
                        27    Communication Systems Having Smart Antennas.” Vivato owns the ’728 Patent
                        28    and holds the right to sue and recover damages for infringement thereof.
                                                                        12
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 13 of 31 Page ID #:13



                          1         Defendant has directly infringed and continues to directly infringe numerous
                          2   claims of the ’728 Patent, including at least claim 16, by manufacturing, using,
                          3   selling, offering to sell, and/or importing into the United States the Accused
                          4   Products. Defendant is liable for infringement of the ’728 Patent pursuant to 35
                          5   U.S.C. § 271(a).
                          6         Each of the Accused Products comprises a wireless communication system.
                          7         Each of the Accused Products comprises a phased array antenna configured
                          8   to transmit beam downlinks. See, e.g.: 802.11ac Standard Clause 8.4.2.58.6, Table
                          9   8-128:
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                        16
                        17
                        18
                        19
                        20
                        21
                        22
                        23
                        24
                        25
                        26          Each of the Accused Products comprises a transceiver operatively coupled to
                        27    the phased array antenna and configured to send and receive electromagnetic
                        28    signals via the phased array antenna. For example, the DIR-895L AC5300 Ultra
                                                                     13
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 14 of 31 Page ID #:14



                          1   Wi-Fi Router has a Broadcom BCM4366 that is configured to send and receive
                          2   electromagnetic signals via the phased array antenna. See, e.g., 802.11ac Standard
                          3   Clauses    22.3.4.5(j),   22.3.4.6(g),     22.3.4.7(h),   22.3.4.8(p),   22.3.4.9.1(q),
                          4   22.3.4.9.2(q), 22.3.4.10.4(e) (“Analog and RF: Up-convert the resulting complex
                          5   baseband waveform associated with each transmit chain to an RF signal according
                          6   to the center frequency of the desired channel and transmit.”); id. Clauses 22.3.7.4,
                          7   22.3.8; id. Clause 22.3.3 and Figure 22-7:
                          8
                          9
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                        16
                        17
                        18
                        19          Each of the Accused Products comprises an access point that includes the
                        20    phased array antenna and the transceiver. For example, the DIR-895L AC5300
                        21    Ultra Wi-Fi Router comprises an access point that includes a phased antenna array
                        22    and a Broadcom BCM4366.
                        23          Each of the Accused Products comprises an access point that includes the
                        24    phased array antenna and the transceiver that is configured to selectively allow a
                        25    receiving device to operatively associate with a beam downlink transmitted to the
                        26    receiving device via the phased array antenna. See, e.g., 802.11ac Standard Clause
                        27    8.5.23.3 (“The Group ID Management frame is an Action frame of category VHT.
                        28    It is transmitted by the AP to assign or change the user position of a STA for one

                                                                          14
                                                                       COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 15 of 31 Page ID #:15



                          1   or more group IDs. The Action field of a Group ID Management frame contains
                          2   the information shown in Table 8-281aj”); id. Clause 8.4.1.51 (“The Membership
                          3   Status Array field is used in the Group ID Management frame (see 8.5.23.3). The
                          4   length of the field is 8 octets. An 8 octet Membership Status Array field (indexed
                          5   by the group ID) consists of a 1-bit Membership Status subfield for each of the 64
                          6   group IDs, as shown in Figure 8-80f. * * * Within the 8 octet Membership Status
                          7   Array field, the 1-bit Membership Status subfield for each group ID is set as
                          8   follows: — Set to 0 if the STA is not a member of the group — Set to 1 if STA is a
                          9   member of the group The Membership Status subfields for group ID 0
                        10    (transmissions to AP) and group ID 63 (downlink SU transmissions) are
                        11    reserved.”); id. Clause 8.4.1.52 (“The User Position Array field is used in the
RUSS, AUGUST & KABAT




                        12    Group ID Management frame (see 8.5.23.3). The length of the field is 16 octets. A
                        13    16 octet User Position Array field (indexed by the Group ID) consists of a 2-bit
                        14    User Position subfield for each of the 64 group IDs, as shown in Figure 8-80g. * *
                        15    * If the Membership Status subfield for a particular group ID is 1, then the
                        16    corresponding User Position subfield is encoded as shown in Table 8-53l.”); id.
                        17    Table 8-53l:
                        18
                        19
                        20
                        21
                        22
                        23
                        24    Id. Clause 22.3.8.3.3 (“The VHT-SIG-A field carries information required to
                        25    interpret VHT PPDUs. The structure of the VHT-SIG-A field for the first part
                        26    (VHT-SIG-A1) is shown in Figure 22-18 and for the second part (VHT-SIG-A2) is
                        27    shown in Figure 22-19.”); id. Figure 22-18:
                        28
                                                                      15
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 16 of 31 Page ID #:16



                          1
                          2
                          3
                          4
                          5
                          6   Id. Clause 22.3.11.4:

                          7
                          8
                          9
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14    Id. Clause 9.31.5.1 (“Transmit beamforming and DL-MU-MIMO require
                        15    knowledge of the channel state to compute a steering matrix that is applied to the
                        16    transmitted signal to optimize reception at one or more receivers. The STA
                        17    transmitting using the steering matrix is called the VHT beamformer and a STA for
                        18    which reception is optimized is called a VHT beamformee. An explicit feedback
                        19    mechanism is used where the VHT beamformee directly measures the channel
                        20    from the training symbols transmitted by the VHT beamformer and sends back a
                        21    transformed estimate of the channel state to the VHT beamformer. The VHT
                        22    beamformer then uses this estimate, perhaps combining estimates from multiple
                        23    VHT beamformees, to derive the steering matrix.”); id. Clause 9.31.5.2 (“A VHT
                        24    beamformer shall initiate a sounding feedback sequence by transmitting a VHT
                        25    NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT
                        26    beamformer shall include in the VHT NDP Announcement frame one STA Info
                        27    field for each VHT beamformee that is expected to prepare VHT Compressed
                        28    Beamforming feedback and shall identify the VHT beamformee by including the

                                                                      16
                                                                  COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 17 of 31 Page ID #:17



                          1   VHT beamformee’s AID in the AID subfield of the STA Info field. The VHT NDP
                          2   Announcement frame shall include at least one STA Info field.”); id. (“A non-AP
                          3   VHT beamformee that receives a VHT NDP Announcement frame… shall
                          4   transmit its VHT Compressed Beamforming feedback a SIFS after receiving a
                          5   Beamforming Report Poll with RA matching its MAC address and a non-
                          6   bandwidth signaling TA obtained from the TA field matching the MAC address of
                          7   the VHT beamformer.”); id. Clauses 8.5.23.2, 8.4.1.48, 8.4.1.49; id. Clauses
                          8   22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a)
                          9   (“Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.”); id. Clauses
                        10    22.3.10.11.1, 22.3.11.2; IEEE 802.11-2012 Clause 20.3.12.3.6.
                        11          Each of the Accused Products comprises an access point that includes the
RUSS, AUGUST & KABAT




                        12    phased array antenna and the transceiver that is configured to receive an uplink
                        13    transmission from the receiving device through the phased array antenna. For
                        14    example, the DIR-895L AC5300 Ultra Wi-Fi Router is configured to receive a
                        15    VHT Compressed Beamforming Feedback frame from a “receiving device” such
                        16    as a connected laptop or smartphone through its phased-array antenna. See, e.g.,
                        17    802.11ac Standard Clauses 8.4.1.24, 8.4.1.49, 8.5.23.2, 9.31.5.1, 9.31.5.2; IEEE
                        18    802.11-2012 Clause 20.3.12.3.6.
                        19          Each of the Accused Products comprises an access point that includes the
                        20    phased array antenna and the transceiver that is configured to determine from the
                        21    uplink transmission if the receiving device should operatively associate with a
                        22    different beam downlink transmission. For example, the DIR-895L AC5300 Ultra
                        23    Wi-Fi Router is configured to determine from information contained in the VHT
                        24    Compressed Beamforming Feedback frame if the receiving device that sent the
                        25    VHT Compressed Beamforming Feedback frame should operatively associate with
                        26    a different beam downlink transmission. See, e.g., 802.11ac Standard Clauses 3.2,
                        27    8.4.1.24, 8.4.1.49, 8.5.23.2, 9.31.5, 9.31.5.1, 9.31.5.2; id. Clause 22.3.11.2:
                        28
                                                                         17
                                                                     COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 18 of 31 Page ID #:18



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                                    Each of the Accused Products comprises an access point that includes the
                        10
                              phased array antenna and the transceiver that is configured to at least one of: (i)
                        11
                              allow the receiving device to operatively associate with the different beam
RUSS, AUGUST & KABAT




                        12
                              downlink if determined that the receiving device should operatively associate with
                        13
                              the different beam downlink; (ii) force the receiving device to operatively associate
                        14
                              with the different beam downlink if determined that the receiving device should be
                        15
                              operatively associated with the different beam downlink. For example, the DIR-
                        16
                              895L AC5300 Ultra Wi-Fi Router is configured to transmit a Group ID
                        17
                              Management frame or VHT MU PPDU VHT-SIG-A or combination thereof to
                        18
                              allow the receiving device to operatively associate with the different beam
                        19
                              downlink if determined that the receiving device should operatively associate with
                        20
                              the different beam downlink; (ii) force the receiving device to operatively associate
                        21
                              with the different beam downlink if determined that the receiving device should be
                        22
                              operatively associated with the different beam downlink. See, e.g., 802.11ac
                        23
                              Standard Clause 10.40 (“An AP determines the possible combinations of STAs
                        24
                              that can be addressed by a VHT MU PPDU by assigning STAs to groups and to
                        25
                              specific user positions within those groups. Assignments or changes of user
                        26
                              positions corresponding to one or more Group IDs shall be performed using a
                        27
                              Group ID Management frame defined in 8.5.23.3…A VHT MU PPDU shall be
                        28
                              transmitted to a STA based on the content of the Group ID Management frame
                                                                   18
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 19 of 31 Page ID #:19



                          1   most recently transmitted to the STA and for which an acknowledgement was
                          2   received.”); id. Clause 8.5.23.3 (“The Group ID Management frame is an Action
                          3   frame of category VHT. It is transmitted by the AP to assign or change the user
                          4   position of a STA for one or more group IDs. The Action field of a Group ID
                          5   Management frame contains the information shown in Table 8-281aj”); id. Clause
                          6   8.4.1.51 (“The Membership Status Array field is used in the Group ID
                          7   Management frame (see 8.5.23.3). The length of the field is 8 octets. An 8 octet
                          8   Membership Status Array field (indexed by the group ID) consists of a 1-bit
                          9   Membership Status subfield for each of the 64 group IDs, as shown in Figure 8-
                        10    80f. * * * Within the 8 octet Membership Status Array field, the 1-bit Membership
                        11    Status subfield for each group ID is set as follows: — Set to 0 if the STA is not a
RUSS, AUGUST & KABAT




                        12    member of the group — Set to 1 if STA is a member of the group The Membership
                        13    Status subfields for group ID 0 (transmissions to AP) and group ID 63 (downlink
                        14    SU transmissions) are reserved.”); id. Clause 8.4.1.52 (“The User Position Array
                        15    field is used in the Group ID Management frame (see 8.5.23.3). The length of the
                        16    field is 16 octets. A 16 octet User Position Array field (indexed by the Group ID)
                        17    consists of a 2-bit User Position subfield for each of the 64 group IDs, as shown in
                        18    Figure 8-80g. * * * If the Membership Status subfield for a particular group ID is
                        19    1, then the corresponding User Position subfield is encoded as shown in Table 8-
                        20    53l.”); id. Table 8-53l:
                        21
                        22
                        23
                        24
                        25
                        26
                        27    Id. Clause 22.3.8.3.3 (“The VHT-SIG-A field carries information required to
                        28    interpret VHT PPDUs. The structure of the VHT-SIG-A field for the first part
                                                                       19
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 20 of 31 Page ID #:20



                          1   (VHT-SIG-A1) is shown in Figure 22-18 and for the second part (VHT-SIG-A2) is
                          2   shown in Figure 22-19.”); id. Figure 22-18:
                          3
                          4
                          5
                          6
                          7
                          8   Id. Clause 22.3.11.4:

                          9
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                        16    Id. Clause 9.31.5.1 (“Transmit beamforming and DL-MU-MIMO require
                        17    knowledge of the channel state to compute a steering matrix that is applied to the
                        18    transmitted signal to optimize reception at one or more receivers. The STA
                        19    transmitting using the steering matrix is called the VHT beamformer and a STA for
                        20    which reception is optimized is called a VHT beamformee. An explicit feedback
                        21    mechanism is used where the VHT beamformee directly measures the channel
                        22    from the training symbols transmitted by the VHT beamformer and sends back a
                        23    transformed estimate of the channel state to the VHT beamformer. The VHT
                        24    beamformer then uses this estimate, perhaps combining estimates from multiple
                        25    VHT beamformees, to derive the steering matrix.”); id. Clause 9.31.5.2 (“A VHT
                        26    beamformer shall initiate a sounding feedback sequence by transmitting a VHT
                        27    NDP Announcement frame followed by a VHT NDP after a SIFS. The VHT
                        28    beamformer shall include in the VHT NDP Announcement frame one STA Info

                                                                      20
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 21 of 31 Page ID #:21



                          1   field for each VHT beamformee that is expected to prepare VHT Compressed
                          2   Beamforming feedback and shall identify the VHT beamformee by including the
                          3   VHT beamformee’s AID in the AID subfield of the STA Info field. The VHT NDP
                          4   Announcement frame shall include at least one STA Info field.”); id. (“A non-AP
                          5   VHT beamformee that receives a VHT NDP Announcement frame… shall
                          6   transmit its VHT Compressed Beamforming feedback a SIFS after receiving a
                          7   Beamforming Report Poll with RA matching its MAC address and a non-
                          8   bandwidth signaling TA obtained from the TA field matching the MAC address of
                          9   the VHT beamformer.”); id. Clauses 8.5.23.2, 8.4.1.48, 8.4.1.49; id. Clauses
                        10    22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l), 22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a)
                        11    (“Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.”); id. Clauses
RUSS, AUGUST & KABAT




                        12    22.3.10.11.1, 22.3.11.2; IEEE 802.11-2012 Clause 20.3.12.3.6.
                        13          Each of the Accused Products comprises an access point that includes the
                        14    phased array antenna and the transceiver that is configured to actively probe the
                        15    receiving device by generating a signal to initiate that the phased array antenna
                        16    transmit at least one downlink transmittable message over the beam downlinks,
                        17    and gather signal parameter information from uplink transmittable messages
                        18    received from the receiving device through the phased array antenna. For example,
                        19    the DIR-895L AC5300 Ultra Wi-Fi Router is configured to actively probe the
                        20    receiving device by generating a signal to initiate that the phased array antenna
                        21    transmit a signal, e.g. a VHT null data packet announcement frame over the beam
                        22    downlinks, and to gather signal parameter information from uplink transmittable
                        23    messages received from the receiving device through the phased array antenna, e.g.
                        24    one or more VHT Compressed Beamforming Feedback frames. See, e.g., 802.11ac
                        25    Standard Clause 9.31.5, 9.31.5.2 (“A VHT beamformer shall initiate a sounding
                        26    feedback sequence by transmitting a VHT NDP Announcement frame followed by
                        27    a VHT NDP after a SIFS. The VHT beamformer shall include in the VHT NDP
                        28    Announcement frame one STA Info field for each VHT beamformee that is
                                                                      21
                                                                   COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 22 of 31 Page ID #:22



                          1   expected to prepare VHT Compressed Beamforming feedback and shall identify
                          2   the VHT beamformee by including the VHT beamformee’s AID in the AID
                          3   subfield of the STA Info field. The VHT NDP Announcement frame shall include
                          4   at least one STA Info field.”); id. (“A non-AP VHT beamformee that receives a
                          5   VHT NDP Announcement frame… shall transmit its VHT Compressed
                          6   Beamforming feedback a SIFS after receiving a Beamforming Report Poll with RA
                          7   matching its MAC address and a non-bandwidth signaling TA obtained from the
                          8   TA field matching the MAC address of the VHT beamformer.”); id. Clause
                          9   8.4.1.24; IEEE 802.11-2012 Clause 20.3.12.3.6; 802.11ac Standard Clause
                        10    8.5.23.2 (defining format and subfields within the VHT Compressed Beamforming
                        11    frame); id. Clause 8.4.1.48 (including Tables 8-53(d)-(h)) (“Each SNR value per
RUSS, AUGUST & KABAT




                        12    tone in stream i (before being averaged) corresponds to the SNR associated with
                        13    the column i of the beamforming feedback matrix V determined at the
                        14    beamformee”); id. Clause 8.4.1.49 (including Table 8-53i – MU Exclusive
                        15    Beamforming Report information); id. Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2; id.
                        16    Clause 22.3.8.3.5; id. Clause 22.3.11.2.
                        17          Defendant has been and is now indirectly infringing at least one claim of the
                        18    ’728 Patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in
                        19    the United States. More specifically, Defendant have been and are now actively
                        20    inducing direct infringement by other persons (e.g., Defendant’s customers who
                        21    use, sell or offer for sale the Accused Products).
                        22          By at least the filing of this complaint, Defendant had knowledge of the ’728
                        23    Patent, and that its actions resulted in a direct infringement of the ’728 Patent, and
                        24    knew or were willfully blind that their actions would induce direct infringement by
                        25    others and intended that their actions would induce direct infringement by others.
                        26          Defendant actively induce such infringement by, among other things,
                        27    providing user manuals and other instruction material for their devices that induce
                        28    their customers to use Defendant’s devices in their normal and customary way to
                                                                         22
                                                                     COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 23 of 31 Page ID #:23



                          1   infringe the ’728 Patent. For example, Defendant’s website provides instructions
                          2   for using the Accused Products on wireless communication systems, and to utilize
                          3   their beamforming and MU-MIMO functionalities. Through its manufacture and
                          4   sales of their devices, Defendant specifically intended for its customers to infringe
                          5   claims of the ’296 Patent. Further, Defendant was aware that these normal and
                          6   customary activities would infringe the ’296 Patent. Defendant performed the acts
                          7   that constitute induced infringement, and that would induce actual infringement,
                          8   with knowledge of the ’296 Patent and with the knowledge or willful blindness that
                          9   the induced acts would constitute direct infringement.
                        10          Accordingly, a reasonable inference is that Defendant specifically intended
                        11    for others, such as their customers, to directly infringe one or more claims of the
RUSS, AUGUST & KABAT




                        12    ’728 Patent in the United States because Defendant had knowledge of the ’728
                        13    Patent and actively induced others (e.g., its customers) to directly infringe the ’728
                        14    Patent by using, selling, or offering to sell the Accused Products and the MU-
                        15    MIMO functionality within the Accused Products.
                        16          Defendant also infringes other claims of the ’728 Patent, directly and
                        17    through inducing infringement, for similar reasons as explained above with respect
                        18    to Claim 16.
                        19          The ’728 Patent is valid and enforceable.
                        20          Defendant’s infringement of the ’728 Patent has damaged Vivato, and
                        21    Defendant is liable to Vivato in an amount to be determined at trial that
                        22    compensates Vivato for the infringement, which by law can be no less than a
                        23    reasonable royalty.
                        24          As a result of Defendant’s infringement of the ’728 Patent, Vivato has
                        25    suffered irreparable harm and will continue to suffer loss and injury.
                        26    VI.   COUNT THREE: INFRINGEMENT OF U.S. PATENT NO. 6,611,231
                        27          On August 26, 2003, United States Patent No. 6,611,231 (“the ’231 Patent”)
                        28    was duly and legally issued for inventions entitled “Wireless Packet Switched
                                                                        23
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 24 of 31 Page ID #:24



                          1   Communication Systems and Networks Using Adaptively Steered Antenna
                          2   Arrays.” Vivato owns the ’231 Patent and holds the right to sue and recover
                          3   damages for infringement thereof.
                          4         Defendant has directly infringed and continues to directly infringe numerous
                          5   claims of the ’231 Patent, including at least claim 1, by manufacturing, using,
                          6   selling, offering to sell, and/or importing into the United States the Accused
                          7   Products. Defendant is liable for infringement of the ’231 Patent pursuant to 35
                          8   U.S.C. § 271(a).
                          9         Each of the Accused Products comprises an apparatus for use in a wireless
                        10    routing network. For example, the DIR-895L AC5300 Ultra Wi-Fi Router is an
                        11    apparatus for use in a wireless routing network.
RUSS, AUGUST & KABAT




                        12          Each of the Accused Products comprises an adaptive antenna. For example,
                        13    the DIR-895L AC5300 Ultra Wi-Fi Router has at least one adaptive antenna. See,
                        14    e.g.: 802.11ac Standard Clause 8.4.2.58.6, Table 8-128:
                        15
                        16
                        17
                        18
                        19
                        20
                        21
                        22
                        23
                        24
                        25
                        26
                        27
                        28
                                                                       24
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 25 of 31 Page ID #:25



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                        16
                        17          Each of the Accused Products comprises at least one transmitter operatively
                        18    coupled to said adaptive antenna and at least one receiver operatively coupled to
                        19    said adaptive antenna. For example, the DIR-895L AC5300 Ultra Wi-Fi Router has
                        20    a Broadcom BCM4366 operatively coupled to the adaptive antenna. See, e.g.,
                        21    802.11ac Standard Clauses 22.3.4.5(j), 22.3.4.6(g), 22.3.4.7(h), 22.3.4.8(p),
                        22    22.3.4.9.1(q), 22.3.4.9.2(q), 22.3.4.10.4(e) (“Analog and RF: Up-convert the
                        23    resulting complex baseband waveform associated with each transmit chain to an
                        24    RF signal according to the center frequency of the desired channel and transmit.”);
                        25    id. Clauses 22.3.7.4, 22.3.8; id. Clause 22.3.3 and Figure 22-7:
                        26
                        27
                        28
                                                                       25
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 26 of 31 Page ID #:26



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                                    Each of the Accused Products comprises a control logic operatively coupled
                        16
                              to said transmitter and configured to cause said at least one transmitter to output at
                        17
                              least one transmission signal to said adaptive antenna to transmit corresponding
                        18
                              outgoing multi-beam electromagnetic signals exhibiting a plurality of selectively
                        19
                              placed transmission peaks and transmission nulls within a far field region of a
                        20
                              coverage area based on routing information. For example, the DIR-895L AC5300
                        21
                              Ultra Wi-Fi Router is configured to output at least one transmission signal to said
                        22
                              adaptive antenna. For a further example, the DIR-895L AC5300 Ultra Wi-Fi
                        23
                              Router is configured to cause said at least one transmitter to output at least one
                        24
                              transmission signal to said adaptive antenna to transmit corresponding outgoing
                        25
                              multi-beam electromagnetic signals exhibiting a plurality of selectively placed
                        26
                              transmission peaks and transmission nulls within a far field region of a coverage
                        27
                              area based on routing information. See, e.g., 802.11ac Standard Clause 9.31.5.1
                        28
                                                                        26
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 27 of 31 Page ID #:27



                          1   (“Transmit beamforming and DL-MU-MIMO require knowledge of the channel
                          2   state to compute a steering matrix that is applied to the transmitted signal to
                          3   optimize reception at one or more receivers. The STA transmitting using the
                          4   steering matrix is called the VHT beamformer and a STA for which reception is
                          5   optimized is called a VHT beamformee. An explicit feedback mechanism is used
                          6   where the VHT beamformee directly measures the channel from the training
                          7   symbols transmitted by the VHT beamformer and sends back a transformed
                          8   estimate of the channel state to the VHT beamformer. The VHT beamformer then
                          9   uses this estimate, perhaps combining estimates from multiple VHT beamformees,
                        10    to derive the steering matrix.”); id. Clauses 22.3.4.6(d), 22.3.4.7(e), 22.3.4.8(l),
                        11    22.3.4.9.1(m), 22.3.4.9.2(m), 22.3.4.10.4(a) (“Spatial mapping: Apply the Q matrix
RUSS, AUGUST & KABAT




                        12    as described in 22.3.10.11.1.”); id. Clause 22.3.10.11.1; IEEE 802.11-2012
                        13    Standard Clause 20.3.12.3.6; 802.11ac Standard Clauses 8.4.1.24, 9.31.5.1,
                        14    9.31.5.2; id. Clause 22.3.11.1:
                        15
                        16
                        17
                        18
                              Id. Clause 22.3.11.2:
                        19
                        20
                        21
                        22
                        23
                        24
                        25
                        26
                        27          Each of the Accused Products comprises search receiver logic operatively
                        28    coupled to said control logic and said at least one receiver and configured to update

                                                                       27
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 28 of 31 Page ID #:28



                          1   said routing information based at least in part on cross-correlated signal
                          2   information that is received by said receiver using said adaptive antenna. For
                          3   example, the DIR-895L AC5300 Ultra Wi-Fi Router updates the routing
                          4   information based at least in part on cross-correlated signal information received in
                          5   a VHT Compressed Beamforming frame. See, e.g., 802.11ac Standard Clause
                          6   9.31.5.2 (“A VHT beamformer shall initiate a sounding feedback sequence by
                          7   transmitting a VHT NDP Announcement frame followed by a VHT NDP after a
                          8   SIFS. The VHT beamformer shall include in the VHT NDP Announcement frame
                          9   one STA Info field for each VHT beamformee that is expected to prepare VHT
                        10    Compressed Beamforming feedback and shall identify the VHT beamformee by
                        11    including the VHT beamformee’s AID in the AID subfield of the STA Info field.
RUSS, AUGUST & KABAT




                        12    The VHT NDP Announcement frame shall include at least one STA Info field.”);
                        13    id. (“A non-AP VHT beamformee that receives a VHT NDP Announcement
                        14    frame… shall transmit its VHT Compressed Beamforming feedback a SIFS after
                        15    receiving a Beamforming Report Poll with RA matching its MAC address and a
                        16    non-bandwidth signaling TA obtained from the TA field matching the MAC
                        17    address of the VHT beamformer.”); id. Clause 8.5.23.2 (defining format and
                        18    subfields within the VHT Compressed Beamforming frame); id. Clause 8.4.1.48
                        19    (including Tables 8-53(d)-(h)) (“Each SNR value per tone in stream i (before being
                        20    averaged) corresponds to the SNR associated with the column i of the
                        21    beamforming feedback matrix V determined at the beamformee”); id. Clause
                        22    8.4.1.49 (including Table 8-53i – MU Exclusive Beamforming Report
                        23    information); id. Clauses 8.4.1.24, 9.31.5.1, 9.31.5.2; id. Clause 22.3.8.3.5; id.
                        24    Clause 22.3.11.2:
                        25
                        26
                        27
                        28
                                                                       28
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 29 of 31 Page ID #:29



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                                    Defendant has been and is now indirectly infringing at least one claim of the
                        10
                              ’231 Patent in accordance with 35 U.S.C. § 271(b) in this district and elsewhere in
                        11
                              the United States. More specifically, Defendant have been and are now actively
RUSS, AUGUST & KABAT




                        12
                              inducing direct infringement by other persons (e.g., Defendant’s customers who
                        13
                              use, sell or offer for sale the Accused Products).
                        14
                                    By at least the filing of this complaint, Defendant had knowledge of the ’231
                        15
                              Patent, and that its actions resulted in a direct infringement of the ’231 Patent, and
                        16
                              knew or were willfully blind that their actions would induce direct infringement by
                        17
                              others and intended that their actions would induce direct infringement by others.
                        18
                                    Defendant actively induce such infringement by, among other things,
                        19
                              providing user manuals and other instruction material for their devices that induce
                        20
                              their customers to use Defendant’s devices in their normal and customary way to
                        21
                              infringe the ’231 Patent. For example, Defendant’s website provides instructions
                        22
                              for using the Accused Products on wireless communication systems, and to utilize
                        23
                              their beamforming and MU-MIMO functionalities. Through its manufacture and
                        24
                              sales of their devices, Defendant specifically intended for its customers to infringe
                        25
                              claims of the ’296 Patent. Further, Defendant was aware that these normal and
                        26
                              customary activities would infringe the ’296 Patent. Defendant performed the acts
                        27
                              that constitute induced infringement, and that would induce actual infringement,
                        28
                                                                        29
                                                                     COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 30 of 31 Page ID #:30



                          1   with knowledge of the ’296 Patent and with the knowledge or willful blindness that
                          2   the induced acts would constitute direct infringement.
                          3         Accordingly, a reasonable inference is that Defendant specifically intended
                          4   for others, such as their customers, to directly infringe one or more claims of the
                          5   ’231 Patent in the United States because Defendant had knowledge of the ’231
                          6   Patent and actively induced others (e.g., its customers) to directly infringe the ’231
                          7   Patent by using, selling, or offering to sell the Accused Products and the MU-
                          8   MIMO functionality within the Accused Products.
                          9         Defendant also infringes other claims of the ’231 Patent, directly and
                        10    through inducing infringement, for similar reasons as explained above with respect
                        11    to Claim 1.
RUSS, AUGUST & KABAT




                        12          The ’231 Patent is valid and enforceable.
                        13          Defendant’s infringement of the ’231 Patent has damaged Vivato, and
                        14    Defendant is liable to Vivato in an amount to be determined at trial that
                        15    compensates Vivato for the infringement, which by law can be no less than a
                        16    reasonable royalty.
                        17          As a result of Defendant’s infringement of the ’231 Patent, Vivato has
                        18    suffered irreparable harm and will continue to suffer loss and injury.
                        19                                 PRAYER FOR RELIEF
                        20          WHEREFORE, Vivato prays for the following relief:
                        21          (a)     A judgment in favor of Vivato that Defendant has infringed and is
                        22    infringing U.S. Patent Nos. 7,062,296, 7,729,728, and 6,611,231;
                        23          (b)     An award of damages to Vivato arising out of Defendant’s
                        24    infringement of U.S. Patent Nos. 7,062,296, 7,729,728, and 6,611,231, including
                        25    enhanced damages pursuant to 35 U.S.C. § 284, together with prejudgment and
                        26    post-judgment interest, in an amount according to proof;
                        27          (c)     An award of an ongoing royalty for Defendant’s post-judgment
                        28    infringement in an amount according to proof;
                                                                        30
                                                                    COMPLAINT
                       Case 8:17-cv-00596-DOC-JDE Document 1 Filed 04/03/17 Page 31 of 31 Page ID #:31



                          1           (d)    Declaring that Defendant’s infringement is willful and that this is an
                          2   exceptional case under 35 U.S.C. § 285 and awarding attorneys’ fees and costs in
                          3   this action.
                          4           (e)    Granting Vivato its costs and further relief as the Court may deem just
                          5   and proper.
                          6                              DEMAND FOR JURY TRIAL
                          7           Vivato demands a trial by jury of any and all issues triable of right before a
                          8   jury.
                          9   Dated: April 3, 2017                Respectfully submitted,
                        10                                        RUSS AUGUST & KABAT
                        11
RUSS, AUGUST & KABAT




                        12
                                                                  By: /s/ Reza Mirzaie
                        13                                            Reza Mirzaie
                        14
                                                                  Reza Mirzaie, State Bar No. 246953
                        15                                        Email: rmirzaie@raklaw.com
                                                                  Philip X. Wang, State Bar No. 262239
                        16                                        Email: pwang@raklaw.com
                                                                  Kent N. Shum, State Bar No. 259189
                        17                                        Email: kshum@raklaw.com
                        18                                        Christian Conkle, State Bar No. 306374
                                                                  Email: cconkle@raklaw.com
                        19                                        James N. Pickens, State Bar No. 307474
                                                                  Email: jpickens@raklaw.com
                        20                                        12424 Wilshire Boulevard, 12th Floor
                        21                                        Los Angeles, California 90025
                                                                  Tele: 310/826-7474
                        22                                        Fax: 310/826-6991
                        23                                        Attorneys for Plaintiff
                                                                  XR Communications, LLC,
                        24                                        dba Vivato Technologies
                        25
                        26
                        27
                        28
                                                                         31
                                                                     COMPLAINT
